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 1   XAVIER BECERRA
     Attorney General of California
 2   ROBERT W. BYRNE
     MICHAEL L. NEWMAN
 3   EDWARD H. OCHOA
     Senior Assistant Attorneys General
 4   MICHAEL P. CAYABAN
     CHRISTINE CHUANG
 5   Supervising Deputy Attorneys General
     BRIAN J. BILFORD
 6   SPARSH S. KHANDESHI
     HEATHER C. LESLIE
 7   JANELLE M. SMITH
     JAMES F. ZAHRADKA II
 8   LEE I. SHERMAN (SBN 272271)
     Deputy Attorneys General
 9    300 S. Spring St., Suite 1702
      Los Angeles, CA 90013
10    Telephone: (213) 269-6404
      Fax: (213) 897-7605
11    E-mail: Lee.Sherman@doj.ca.gov
     Attorneys for Plaintiff State of California
12

13                            IN THE UNITED STATES DISTRICT COURT

14                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

15                                         OAKLAND DIVISION

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     STATE OF CALIFORNIA et al.;                          Case No. 4:20-cv-1563-HSG
18
                                            Plaintiffs, PLAINTIFFS’ NOTICE OF
19                                                      SUPPLEMENTAL AUTHORITY
                    v.
20                                                Judge:      Hon. Haywood S. Gilliam, Jr.
                                                  Trial Date: None Set
21   DONALD J. TRUMP, in his official capacity Action Filed: March 3, 2020
     as President of the United States of America
22   et al.;

23                                        Defendants.

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                                Pls.’ Notice of Suppl. Authority (4:20-cv-1563-HSG)
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 1         Plaintiff State of California respectfully notifies the Court that the Ninth Circuit has issued
 2   decisions in State of California, et al. v. Trump, et al., Nos. 19-16299 and 19-16336 (9th Cir. June
 3   26, 2020) (States Slip Op.) and Sierra Club, et al. v. Trump, et al., Nos. 19-16102 and 19-16300
 4   (9th Cir. June 26, 2020) (Sierra Club Slip Op.), attached hereto as Exhibits A and B respectively.
 5   The Ninth Circuit panel affirmed this Court’s orders granting California’s and New Mexico’s (the
 6   States) and the Sierra Club plaintiffs’ motions for partial summary judgment challenging the
 7   diversion of fiscal year (FY) 2019 funds transferred toward border wall construction under
 8   sections 8005 and 9002 of the Department of Defense Appropriations Act, 2019, Pub L. No. 115-
 9   245, 132 Stat. 2981 (2018) in the related cases State of California, et al. v. Trump, et al., No. 19-
10   cv-872-HSG (N.D. Cal. June 28, 2019) and Sierra Club, et al. v. Trump, et al., No. 19-cv-892-
11   HSG (N.D. Cal. June 28, 2019). The Ninth Circuit panel determined that: (a) the States
12   established Article III standing to challenge the transfers due to the injury caused to the States’
13   environment, wildlife, and sovereign interests in the enforcement of their environmental laws,
14   States Slip Op. 20-30; (b) the States were within the zone of interests of Sections 8005 and 9002
15   to challenge the transfers, States Slip Op. 30-36; and (c) the Sierra Club plaintiffs had
16   constitutional and equitable causes of actions not subject to the zone of interests test, and even if
17   the zone of interests test applied, the Sierra Club plaintiffs were within the zone of interests of the
18   Appropriations Clause, Sierra Club Slip Op. 36-40. On the merits, the panel determined that the
19   transfers are unlawful because the border wall construction did not meet the criteria of sections
20   8005 and 9002 since it: (a) was not “unforeseen;” (b) was not a “military requirement[];” and (c)
21   was an “item for which funds [were] requested” and “denied by the Congress.” States Slip Op.
22   36-48.
23         The Ninth Circuit also affirmed the district court’s order granting a permanent injunction to
24   the Sierra Club plaintiffs. Sierra Club Slip Op. 40-45. The Ninth Circuit determined that this
25   Court’s denial of the States’ request for injunctive relief was not an abuse of discretion. States
26   Slip Op. 48. As discussed previously, the States’ injuries arising from the transfer of FY 2020
27   funds at issue in the pending motion for summary judgment are distinct from the injuries at issue
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 1   in the litigation surrounding the FY 2019 transfers. See, e.g., ECF No. 55 at 23-25; ECF No. 65
 2   at 21-25.
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 4   Dated: June 29, 2020                                   Respectfully submitted,
 5                                                          XAVIER BECERRA
                                                            Attorney General of California
 6                                                          ROBERT W. BYRNE
                                                            MICHAEL L. NEWMAN
 7                                                          EDWARD H. OCHOA
                                                            Senior Assistant Attorneys General
 8                                                          MICHAEL P. CAYABAN
                                                            CHRISTINE CHUANG
 9                                                          Supervising Deputy Attorneys General
                                                            BRIAN J. BILFORD
10                                                          SPARSH S. KHANDESHI
                                                            HEATHER C. LESLIE
11                                                          JANELLE M. SMITH
                                                            JAMES F. ZAHRADKA II
12
                                                            /s/ Lee I. Sherman
13                                                          LEE I. SHERMAN
                                                            Deputy Attorneys General
14                                                          Attorneys for Plaintiff State of California

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